    Case 3:19-cv-02301-L-BN Document 46 Filed 07/19/21                   Page 1 of 4 PageID 758



                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

    MICAH CROFFORD BROWN,                           §
                                                    §
                    Petitioner,                     §
                                                    §
    v.                                                CAUSE NO. 3:19-cv-2301-L-BN
                                                    §
    BOBBY LUMPKIN, Director, Texas                  §
    Department of Criminal Justice, Correctional    §
    Institutions Division,                          § CASE INVOLVING THE DEATH
                                                    § PENALTY
                                                    §
                    Respondent.                     §



            UNOPPOSED MOTION FOR LEAVE TO EXCEED PAGE LIMIT FOR
            REPLY IN SUPPORT OF PETITION FOR WRIT OF HABEAS CORPUS



          Petitioner Micah Brown respectfully requests leave to exceed the page limit provided in this

district’s Local Civil Rules for his forthcoming Reply in Support of Petition for Writ of Habeas

Corpus, which is currently due to be filed on or before July 22, 2021. 1 Petitioner seeks leave to file

a reply no longer than 45 pages. Respondent does not oppose the relief sought herein. Petitioner

submits the following as good cause for granting the request. 2

          In this Court’s June 10, 2020 Order, ECF No. 26, Petitioner was directed that, “All pleadings,

motions and other documents filed in this cause must conform in all respects to this Court’s Local

Rules.” Id. at 4.



1
  Petitioner is simultaneously moving this Court for an extension of the current deadline, in a
separate motion.
2
  In response to Petitioner’s objections to the initial scheduling order and its required compliance
with the page limits in the Local Rules, ECF No. 14, this Court stated, “if Petitioner would like to
exceed the page limit provided in this district’s Local Civil Rules, he may file an appropriate
motion for leave beforehand.” ECF No. 20 at 2.
    Case 3:19-cv-02301-L-BN Document 46 Filed 07/19/21                   Page 2 of 4 PageID 759



          Local Civil Rule 7.5 (“Page Limits in Death Penalty Habeas Cases”) limits Petitioner’s Reply

and “any supporting brief or memorandum (whether filed contemporaneously with, or after, the

reply),” to 25 pages in total. L.R. 7.5(c). Proportionally, this 25-page limit is one-quarter of the page

limit for “the answer to the application, motion, or petition.” L.R. 7.5(b) (100-page limit for answer

to habeas petition). The length requested here is consistent with the spirit of the local rules. Prior to

filing his initial petition, Petitioner sought leave to exceed the 100-page limit. ECF No. 27. The Court

granted Petitioner’s motion and permitted the filing of an initial petition that did not exceed 190

pages. ECF No. 28. Respondent also sought leave to exceed the 100-page limit for his responsive

pleading, requesting a total of 185 pages. 3 ECF No. 38. Respondent’s request was also granted. ECF

No. 39. The 45 pages Petitioner requests is approximately one-quarter of the length of Respondent’s

Answer.

          An enlargement of the page limit for a reply is necessary for Petitioner to adequately respond

to Respondent’s arguments raised in his Answer. Respondent’s Answer not only addresses the merits

of Petitioner’s claims, but also asserts numerous procedural defenses, to which Petitioner must

respond.

          Undersigned counsel has taken great efforts to condense and winnow this pleading, but is

simply unable to do so in a manner that both satisfies the Court’s Order, and fulfills his professional

obligations to this Court and Petitioner.

          As Respondent’s counsel has acknowledged in his request for leave to exceed the page limit

for his Answer, ECF No. 38 at 1-3, there are several factors that make Petitioner’s case complex and

that distinguish it from the mine-run capital habeas case.




3
    Respondent’s Answer was 182 pages in total. ECF No. 40.

                                                    2
 Case 3:19-cv-02301-L-BN Document 46 Filed 07/19/21                       Page 3 of 4 PageID 760



        In light of the prior pleading enlargements permitted by the Court, and consistent with the

proportionality set out in the district’s Local Rules, Petitioner believes his request for leave to exceed

the 25-page limit for his Reply is reasonable and necessary for Petitioner to receive due process in

this Court.

        WHEREFORE, for the foregoing reasons, Petitioner respectfully requests leave to exceed

the 25-page limit provided in this district’s Local Civil Rules, and to allow him to file a Reply in

support of his initial Petition for Writ of Habeas Corpus that does not exceed 45 pages.



DATED:          July 19, 2021                   Respectfully submitted,

                                                MAUREEN FRANCO
                                                Federal Public Defender

                                                Timothy P. Gumkowski
                                                /s/ Timothy P. Gumkowski
                                                Assistant Federal Defender
                                                Texas Bar No. 24104788
                                                Office of the Federal Public Defender
                                                Western District of Texas
                                                919 Congress, Suite 950
                                                Austin, Texas 78701
                                                737-207-3007 (tel.)
                                                512-499-1584 (fax)
                                                Tim_gumkowski@fd.org

                                                Counsel for Petitioner




                                                    3
    Case 3:19-cv-02301-L-BN Document 46 Filed 07/19/21                   Page 4 of 4 PageID 761



                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 19th day of July, 2021, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which will send notification of such filing to the following:

Erich Dryden
Assistant Attorney General
Office of the Attorney General
P.O. Box 12548
Austin, Texas 78711

                                                                 /s/ Timothy Gumkowski
                                                                 Timothy Gumkowski



                                CERTIFICATE OF CONFERENCE

        On July 19, 2021, undersigned counsel for Petitioner conferred with counsel for

Respondent, Assistant Attorney General Stephen Hoffman, 4 who advised that Respondent does not

oppose the relief sought in this Motion.



                                                                 /s/ Timothy P. Gumkowski
                                                                 Timothy P. Gumkowski




4
 Counsel of record for Respondent, Assistant Attorney General Erich Dryden, was out of the
office at the time undersigned counsel conferenced this Motion. Therefore, at Mr. Dryden’s
direction, this Motion was conferenced with Mr. Hoffman.

                                                    4
